F'»B.GE 132

11,#00,'“200-:1 14:3? 51??200?0?
Case1:04-cr-10112-RGS Document 40 Filed11/09/2004 Page1of1

pg()g ‘g 100010A0N :pam(]

trwng (119)

60130 vw ‘HUSOH

walls [“EF).IQIII[HO:) OZZ

SHFPH HBP!IQHIHH we ==»MnH

  

£00.10110 510 Aq `
‘[P,:al ugsn_{ ‘1001)00_10(]
0011101005 £[In:p:mdsag

'010p 0000110010 001 01 00000011000 001 000¢:{00 100 000 ‘
` _ p oqm 01 0h 1 1103
cvgnv q1_m 0011003 0/\01[ 1 000\=:001:1000 sup 1111/m 100m00.1§'e 01 010 01012000_100‘;1[1;/1?1700%
53 xaqmaAoN 01 hong 31 100100A0N 10011 5100000_101) ne 10_110010031~0.1.0>. palnp'aqas 001
00011000 011.10.03 01001000H 91111 5190000.1 i[pup[ pma 10000:_)101:) 001 l§01000 MoN

._*____.1_,_._
HDNVHNI..LNOD HO..tI MOI.I.OW

'[V 1'.§[ "`IV'.E[.I. NI.I.SH[`

SDH-Ztlor~vu '0N ln“!mu;) .A

VJIHE[WV .LIO SE[I.VJ.S (]_EI.`LIMI]

sJ,.L:»l'an;)vsva/wo 10101910
10000 10101010 simms 03111\10

